                     Case: 25-1555
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                                                                        CIRCUIT

                                                     No. 25-1555

                          Atlas Data Privacy Corp.             vs. We Inform, LLC et al.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 Consumer Data Industry Association, Software & Information Industry Association, and Coalition for Sensible Public Records Access


Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                ____ Appellant(s)                  ____ Intervenor(s)

         ____ Respondent(s)                ____ Appellee(s)                    ✔ Amicus Curiae
                                                                              ____

(Type or Print) Counsel’s Name Jennifer L. Sarvadi
                               ________________________________________________________________
                                  ____ Mr.    ____ Ms.     ✔ Mrs.
                                                          ____        ____ Miss ____ Mx.

Firm Hudson Cook, LLP

Address 1909 K Street NW, 4th Floor

City, State, Zip Code Washington, D.C. 20006

Phone 202.715.2002                                                     Fax 202.223.6930

Primary E-Mail Address (required) jsarvadi@hudco.com
Additional E-Mail Address (1)
Additional E-Mail Address (2)
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SIGNATURE OF COUNSEL: /s/ Jennifer L. Sarvadi

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
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REV. 10/20/2020
